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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
In re
                                                                  Case No. 23-11160 (MFW)
VESTTOO LTD., et al., 1
                                                                  (Jointly Administered)
                             Debtors.
                                                                  Hearing Date: TBD
                                                                  Objections Due: TBD


      MOTION TO SHORTEN THE NOTICE PERIOD FOR CONSIDERATION AND
    LIMITING NOTICE OF THE UNITED STATES TRUSTEE’S MOTION FOR ENTRY
          OF AN ORDER CONVERTING THE CASES TO CHAPTER 7 CASES

          In support of his motion to shorten and limit notice of the United States Trustee’s Motion

for Entry of an Order Converting the Cases to Chapter 7 Cases (“Motion to Shorten”), Andrew

R. Vara, United States Trustee for Regions Three and Nine (the “U.S. Trustee”), by and through

his counsel, avers:

          1.        Concurrently herewith, the U.S. Trustee has filed his Motion for Entry of an

Order Converting the Cases to Chapter 7 Cases (“Conversion Motion”). 2 The grounds for the

Conversion Motion include that the Debtors (i) are unable to reorganize, (ii) have admitted to

massive prepetition fraud, and (iii) have made unauthorized payments to professionals

postpetition. In the Conversion Motion, the U.S. Trustee avers that it is in the best interests of

these estates to convert the cases to ones under chapter 7 for the purpose of allowing an

independent fiduciary to monetize the Debtors’ assets and pursue causes of action against the

Debtors’ management, rather than having the assets of the estates dissipate as the result of


1
    Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the last
    four digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the Debtors’ proposed claims and noticing agent at
    https://dm.epiq11.com/vesttoo..
2
    Terms not otherwise defined in the Motion to Shorten shall have the same meaning as in the Conversion Motion.
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disagreement regarding the direction of these chapter 11 cases.

       2.      The underlying facts to determine cause for conversion are essentially the same

which the Committee asserts in its filed motion (the “CMTE”) are grounds for terminating the

Debtors’ exclusivity to file and solicit a plan in these cases. See (D.I. 269).

       3.      Hearing the U.S. Trustee’s Conversion Motion on the November 8, 2023 hearing

date promotes judicial economy and provides the Court with an alternative to granting or

denying the CMTE that will address pervasive issues in these cases.

       4.      The U.S. Trustee therefore requests that this Court shorten notice pursuant to

Local Bankruptcy Rule 9006-1(e) and set a hearing date for the Conversion Motion for

November 8, 2023 at 10:30 a.m. (the next scheduled omnibus hearing date and date noticed for

the CMTE) with an objection deadline (i) for oral objections, at the time of hearing for the

Conversion Motion and (ii) for written objections, 12 noon on November 7, 2023

       5.      The U.S. Trustee proposes to limit service of the Conversion Motion to (a) the

Debtors and their counsel, (b) the Committee and its counsel, and (c) all parties-in-interest who

have requested notice in this case (the “Notice Parties”) pursuant to Bankruptcy Rule 2002

through CM/ECF and e-mail. The U.S. Trustee requests that the Court modify the service

requirements to obviate service of hard copies on all creditors as would be required by

Bankruptcy Rule 2002(a)(4).

       6.      The U.S. Trustee has conferred with the Debtors and the Committee regarding the

Motion to Shorten pursuant to Local Rule 9006-1(e). Counsel to the Debtors indicated that the

Debtors take no position on the U.S. Trustee’s request to shorten notice. Counsel to the

Committee responded that the Committee does not object to the U.S. Trustee’s request to shorten


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notice.

          WHEREFORE the U.S. Trustee requests that this court shorten notice of the Conversion

Motion as provided herein. A proposed form of order granting the motion to shorten notice is

attached.


                                      Respectfully submitted,

                                      ANDREW R. VARA
                                      UNITED STATES TRUSTEE

Dated: October 27, 2023           BY: /s/ Timothy J. Fox
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